Case: a | Document #: 1 Filed: 07/30/04 Po of 16 PagelD #:825

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IN THE UNITED STATES DISTRICT COURT AUG 2 - 2004
. FOR THE NORTHERN DISTRICT OF ILLINOIS
‘ oe EASTERN DIVISION
LINDA‘MACCHIA, ) ae
) Senet m ae , ( oe a. ,
Plaintiff, ) Case No. oe ee
)
V. ) Honorable ,
} Judge Presiding, 018 yar
LOYOLA UNIVERSITY MEDICAL } 8 Met
CENTER, ) Honorable ,
) Magistrate Judge... |.
Detendant. ) Bee oo,
) JURY DEMANDED ee
COMPLAINT

NOW COMES the Plaintiff, LINDA MACCHIA, by and through her attorneys, John P.
De Rose and Associates, and complains of Defendant, LOYOLA UNIVERSITY MEDICAL
CENTER and states as follows:
JURISDICTION
1, The jurisdiction of this Honorable Court is brought pursuant to the Americans with
Disabilities Act of 1990 (ADA), 42 U.S.C. § 12101, et. al., and the Civil Rights
Attorney's Fees Awards Act of 1976, 42 U.S.C. § 1988. The jurisdiction of this
Honorable Court is also invoked pursuant to 28 U.S.C, § 1331 and 1343. The Court is
also requested to cxercise its supplemental jurisdiction to hear pendent state claims under
the same action.
PARTIES

2. Plaintiff, LINDA MACCHIA, (hereinafter sometimes referred to as "Plaintiff"), is a

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resident of the State of Hlinois and a citizen of the United States of America.

Defendant LOYOLA UNIVERSITY MEDICAL CENTER, (hereinafter sometimes
referred to as “Defendant”), is an Illinois corporation with its principal place of business
in Maywood, Illinois and at all times relevant to this complaint is an employer within the
meaning of the ADA.

FACTS

 

On or around September of 1998, Plaintiff, LINDA MACCHIA, was hired by Defendant,
Loyola University Medical Center.

Plaintiff began her employment as a floating secretary, then as a general medical service
representative and then a scrvice representative in the Anticoagulation Clinic.

On Friday, December 15", 2000 at approximately 4:45 PM, Plaintiff fell in parking lol #
(9) nine, a key card entry employee lot at Loyola University Medical Center.

Plaintiff began to develop pain and swelling in her fingers, hands, lower back and knees,
and back and leg spasms.

Plaintiff returned to work on Tuesday, December 19", 2000. Plaintiff informed a
supervisor of her injury and the supervisor recommended Plaintiff immediately go to
“Occupational Health,”

Plaintiff's condition continued to deteriorate over the next week, the Christmas holiday.
On Wednesday, December 27", 2000, Plaintiff returned to Occupational Health. She
informed them that her pain and spasms were getting worse, her legs were feeling numb

and she was having trouble walking. Dr. Woody at Occupational Health informed her

that she would not be able to receive workman’s compensation time and should return to

 
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work, Dr. Woody also stated that x-rays were not necessary and the injury could be
treated with medication and therapy.

After retuming to her job from the Occupational Health center, Plaintiff informed her
supervisor that if she was not allowed any workman’s compensation time, she would

have to take personal time because she could not perform her occupational duties due lo
the pain.

With consent of the Occupational Health center, Plainti(f saw a chiropractor. On January
"4 2001, after two treatments, the chiropractor refused treatment after observing changes
in her leg coordination and demanded she return to Loyola for further diagnosis.

On January 34, 2001, Plaintiff went to the Human Resources department at Loyola
University Medical Center. Plaintiff requested treatment from a specialist or the
emergency room. Plaintiff was directed by Kathy Kiley back to the Occupational Health
center.

Dr. Woody re-examined the Plaintiff and referred her to Dr. Ghanayem, an orthopedic
out-patient doctor at Loyola University Medical Center. Plaintiff requested that Dr.
Woody send her to a neurosurgeon, but Dr. Woody told her that neurosurgeons do not get
involved with workman’s compensation cases.

That same day, January 3", 2001, Plaintiff saw Dr. Ghanayem who ordered x-rays and an
MRI.

Plaintiff had an MRI taken on Friday, January 5, 2001. After examining the results, Dr.
Ghanayem determined that Plaintiff had a slight herniation of the L4-L5 vertebrae. Dr.

Ghanayem referred Plaintiff to Dr, Patel, an anesthesiologist for a cortisone shot.
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On January 94 2001, Plaintiff saw Dr. Patel. Dr. Patel did an extensive examination and
determined that a cortisone shot was not the appropriate treatment, and that the Plaintiff
requited additional care. Dr. Patel called Dr. Ghanayem, and requested that the PlaintilT
meet Dr. Ghanayem at the Loyola emergency room immediately.

Dr. Ghanayem ordered another MRI of the cerebral areca and cervical region of the neck,
Plaintiff had the MRI done the next morning, Wednesday, January 10", 2001. The MRI
revealed that the Plaintiff's C5-C6 vertebrae were pressing on her spinal cord, which
required immediate, emergency surgery.

On Friday, January 12", 2001, Plaintiff underwent an emergency Anterior Cervical
Laminectomy.

Over the next 6 months after the surgery, the Plaintiff's condition improved, but then
began to deteriorate. Dr. Ghanayem, who followed up after the surgery, determined that
additional surgery was necessary. Plaintiff sought a second opinion from Dr. Kazan, a
neurosurgeon, who concurred that additional surgery was necessary.

On July 1“, 2001, Plaintiff underwent her second surgery, a Cervical Laminoplasty for
Posterior Decompression by Dr. Ghanayem at the Loyola University Medical Center.

On October 1*, 2001, Plaintiff returned to work with restrictions such as no lifting and no
overhead and ergonomic changes to her work station.

On August 28", 2002, Plaintiff's restrictions were amended to include no more than two
hours of typing per eight hour work day.

On or around September 23™, 2002, Plaintiff was informed that HR was unable to

accommodate her restrictions and they would try and locate another job for her,

 

 
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26, On December 19", 2002, Plainiiff was forced onto long term medical leave by the
Family/Medical Leave Act.

27. Plaintiff inquired about several jobs, with Loyola’s consent, within the hospital while on
leave, but was advised that she was not qualified due to her restrictions.

28. On April 3", 2003, Loyola offered Plaintiff a position as a service representative in the
General Medical Clinic. During an interview for the job, Plaintiff asked about the
appropriate accommodations for her restrictions. Plaintiff was told she had no
restrictions. She could either take the job or she was “out,”

29. —‘ Plaintiff took the job on April 12", 2003.

30. During the next several months Plaintiff was criticized for being too slow, tardy, and not
keeping up with the other workers.

31. On August 20", 2003, Dr. Ghanayem sent a letter to Dr. Woody informing her that the
Plaintiffs restrictions are “permanent and should not be ignored.”

32. Plaintiff was fired on January 19", 2004 for failure to perform job duties and
unprofessional behavior.

33. Plaintiff appealed the termination on January 22™, 2004, On February 24", 2004 her
appeal was denied.

34. On June 14", 2004, Plaintiff filed a charge of discrimination based on disability with the
Illinois Department of Human Rights, Equal Employment Opportunity Commission.
Attached as exhibit “A”.

35. On June 28", 2004, Plaintiff received a notice of right to sue from the Equal Employment

Opportunity Commission. Attached as exhibit “B”.

 
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COUNT I

DISABILITY DISCRIMINATION IN EMPLOYMENT
Plaintiff repeats and rcalleges Paragraphs 1 through 35 of this Complaint as Paragraphs 1
through 35 of Count T as though fully set forth herein,
Plaintiff was able to perform the essential functions inherent in the position of service
representative at the Defendant company.
Defendant was aware of Plaintiff's cervical injuries since Plaintiff repeatedly told various
agents of the Defendant in addition to letters from Dr. Ghanayem outlining her work
restrictions.
Specifically, Plaintiff openly requesied accommodations duc to her medical condition.
Plaintiff repeatedly requested that Defendant make some type of reasonable
accommodation for her disability.
During the course of Plaintiff's employment with Defendant, Defendant failed to make
reasonable effort to accommodate Plaintiff s disability.
Defendant’s refusal to accommodate Plaintiffs disability was without reasonable cause
or legal justification.
That on or about June 14", 2004, Plaintiff filed a Request for Review, Charge Number
210-2004-05322, with the State of Illinois Department of Human Rights and through
automatic contemporaneous filing with the United Siates Equal Employment Opportunity
Commission (EEOC), alleging discrimination because of disability in violation of the

Americans with Disabilities Act of 1990.

On June 28", 2004, the EEOC issued to Plaintiff a Notice of Right-to-Sue in connection

 
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with her charge of discrimination.

WHEREFORE, Plaintiff, LINDA MACCHIA, respectfully prays for judgment against
Defendant as follows:

A, Judgment for compensatory damages in favor of Plaintiff, and against the

Defendant in an amount in excess of $100,000.00;

B. Punitive damages from the Defendant in an amount in excess of $100,000.00;
Cc. Reasonable atiorney’s lees as permitted by 42 U.S.C. Section 1988;

D. Costs of this suit; and

E. Such other relief as may be proper and just.

COUNT IT

RETALIATION IN VIOLATION OF
THE AMERICANS WITH DISABILITIES ACT

1-43. The Plaintiff repeats and realleges Paragraphs 1 through 43 of Count I as Paragraphs 1
through 43 of Count II as though fully set forth herein.

44, On Friday, December 15", 2000, Plaintiff fell in the Defendant’s employee parking lot.

45. Asaresult of the fall, the Plaintiff has suffered severe neck, back and leg injuries. The
Plaintiff underwent emergency surgery to relieve a cervical disc from pressing on her
spinal cord on January 10", 2001. Plaintiff underwent a second surgery to on July1st,
2001 after the Plaintiff's condition began to deteriorate.

46. On October 1*, 2001, Plaintiff return to work for Defendant, with certain work

restrictions as prescribed by her surgeon.

47. Defendant refused to make the reasonable, appropriate accommodations for the Plaintiff.

 
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On January 19", 2004, Plaintiff was fired.

Defendants retaliated against the Plaintiff by terminating her employment for requesting
that ihe restrictions mandated by her surgeon and doctor and mandated by the Americans
with Disability Act.

Defendant’s have retaliated against the Plaintiff by terminating her without cause, and any
given by the Defendant is mere pretext.

Plaintiff has suffered, is now suffering and will continue to suffer irreparable injury and
monetary damages as a direct and proximate cause of the Defendant’s retaliatory
practices.

WHEREFORE, Plaintiff, LINDA MACCHIA, respectfully prays for judgment against

Defendant as follows:

1-51.

A, Judgment for compensatory damages in favor of Plaintiff, and against the
Defendant in an amount in excess of $100,000.00:
B. Punitive damages from the Defendant in an amount in excess of $100,000.00;
C. Reasonable atlomey’s fees as permitted by 42 U.S.C. Section 1988;
D. Costs of this suit; and
E. Such other relief as may be proper and just.
COUNT Il

RETALIATION IN VIOLATION OF
ILLINOIS WORKMEN’S COMPENSATION ACT

The Plaintiff repeats and reallegces Paragraphs 1 through 51 of Count I as Paragraphs 1

through 51 of Count II as though fully set forth herein.

 

 

 
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52,‘ Plaintiff began receiving Workmen’s Compensation on or around January 10", 2001. On
or around June 22™, 2001, Defendant cut off Plaintiff*s compensation.

53. On July 1*, 2001, Plaintiff underwent her second surgery by Dr. Ghanayem. Plaintiff
returned to work on October 1°, 2001.

54. Plaintiff initiated a workmen’s compensation claim with the State of Illinois Industrial
Commission. The Industrial Commission found that Plaintiff was entitled to workmen’s
compensation for the period from her first surgery, January of 2001, until she returned to
work in October of 2001.

35. From October of 2001, to approximately December of 2002, Plaintiff worked for
Defendant with restrictions set forth by her doctor.

256. Onor around August of 2002, Defendant informed Plaintiff that they were unable to
accommodate her restrictions as prescribed by her doctor.

57, Plaintiff was forced to take long term medical leave under the Family/Medical Leave Act
without pay or compensation on December 19", 2002.

58. Plaintiff retumed to work on April 13", 2003 and was not accommodated in any way for
her physical disabilitics.

59. On January 19". 2004, Plaintiff was fired.

60. Plaintiff was entitled to workmen’s compensation from December 19", 2002 to April
13", 2003 and {rom the date of her termination, J anuary 19", 2004, to the present.

61. Defendants retaliated against the Plaintiff by terminating her employment for filing a

Workmen’s Compensation claim and requesting benefits in violation of the Illinois

Workmen’s Compensation Act.

 
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62. Defendant’s have retaliated against the Plaintiff by terminating her without cause, and any
given by the Defendant is mere pretext.

63. Plaintiff has suffered, is now suffering and will continue to suffer irreparable injury and
monetary damages as a dircct and proximate cause of the Defendant’s retaliatory
practiccs.

WHEREFORE, Plaintiff, LINDA MACCHIA, respectfully prays for judgment against

Defendant as follows:

A. Judgment for compensatory damages in favor of Plaintiff, and against the
Defendant in an amouni in excess of $100,000.00;

B. Punitive damages (rom the Defendant in an amount in excess of $100,000.00;

C. Reasonable attorney’s foes as permitted by 42 U.S.C. Section 1988;

D. Costs of this suit; and

esl

Such other relief as may be proper and just.
COUNT IV

WRONGFUL TERMINATION
UNDER ILLINOIS LAW

1-63. The Plaintiff repeats and realleges Paragraphs | through 62 of Count I as Paragraphs 1
through 62 of Count II as though fully set forth herein.

64. On January 19", 2004, Plaintiff, LINDA MACCHIA was terminated by Defendant
without cause or justification and any treason given is mere pretext.

65. Plaintiff was terminated because the Defendant did not want to make the appropriate,

mandated accommodations.

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66, The termination of the Plaintiff was in violation of clcarly mandated public policy as set
forth in the Americans with Disabilities Act, 42 U.S.C. § 12101, et al. and the Illinois
Workmen’s Compensation Act, 820 ILCS 305/4.

67. Wo other reasonable cause or justification existed for the termination of Plaintiff's
employment, and any reason given by Defendant is mere pretext.

68. By wrongfully discharging Plaintiff without cause or justification, and for the wrongful
reasons set forth above, Defendant acted willfully and with malice toward Plaintiff.

69. Asa direct and proximate cause of this wrongful and unlawful action by Defendants,
Plaintiff has suffered the loss of her employment, the loss of salary and benefits, damages
to her reputation and future earning potential and emotional pain and suffering.

70, The actions of the Defendant, Loyola University Medical Center, were done deliberately
and willfully or with such gross negligence as to indicate wanton disregard for Plaintiff's
rights.

WHEREFORE, the Plaintiff, LINDA MACCHIA, respectfully asks this Honorable Court
to grant the following relict:
A. Judgment for compensatory damages in favor of Plaintiff, and against the
Defendant in an amount in excess of $100,000.00;
B. Punitive damages from the Defendant in an amount in excess of $100,000.00;
C. Reasonable attorncy’s fees as permitted by 42 U.S.C. Section 1988;
D. Costs of this suit; and

E. Such other relief as may be proper and just.

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COUNT V
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

1-70. The Plaintiff repeats and realleges Paragraphs 1 through 70 of Count II as Paragraphs 1
through 70 of Count III as though fully set forth herein.

71. The Defendant’s conduct of intentionally discriminating and harassing Plaintiff because
of his disability was extreme and outrageous.

72. The Detendant’s conduct of terminating Plaintiff, despite having knowledge of Plaintiff's
request for employment accommodation, was extreme and outrageous.

73, The Defendant's actions were intentional and the Defendant knew that there was a high
probability that their conduct would cause severe emotional distress to the Plaintiff.

74. By wronglully discharging Plaintiff without cause or justification, and for the wrongful
reasons sct forth above, Defendant acted willfully and with malice toward Plainuif.

75, Asa direct and proximate cause of this wrongful and unlawful action by Defendant,
Plainui ff has suffered the loss of her employment, the loss of salary and benefits, damages
to her reputation and future carning potential and emotional pain and suffering.

76. The actions of the Defendant, Loyola University Medical Center, were done deliberately
and willfully or with such gross negligence as to indicate wanton disregard for Plaintill’s
rights.

77. The Plaintiff has suffered severe emotional distress as a direct result of the Defendant's
actions and the willful disregard of her rights.

WHEREFORE, the Plaintiff, LINDA MACCHIA, respectfully asks this [[onorable Court

to grant the following relief:

 
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A, Judgment for compensatory damages in favor of Plaintiff, and against the
Defendant in an amount in excess of $100,000.00;

B. Punitive damages from the Defendant in an amount in excess of $100,000.00;

C. Reasonable attorney’s fees as permitted by 42 U.S.C. Section 1988;

D. Casts of this suit: and

E. Such other relief as may be proper and just.

Respectfully submitted,

   

John 2. De Rose

John P, De Rose and Associates
15 Spinning Wheel Road

Suite 428

Hinsdale, Mlinois 60521

(630) 920-EL11

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EEO Fearn 5 (5/01)

 

 

CHARGE OF DISCRIMINATION Charge Prasented Ta: Agancy{ies} Charge No(s):

Thig form is affected by tha Privacy Act of 1974. See enciosed Privacy Act ["] FEPA
Statemant and other information bafore completing this form,

210-2004-05322
_. and EEOC

 

 

lilinois Department Of Human Rights

Slate or local Agency, if ary

 

Name (Indicate Mr, Ms., Mrg.) Home Phone No. (ite! draa Coda) Date of Birth

Ms. Linda Macchia (708) 447-5244

Streat Address City, Stata and ZIP Code
2502 South Park Avenue, North Riverside, IL 60546

 

 

 

 

Named is the Employer, Labor Organization, Employmant Agency, Apprenticeship Committee, or State or Local Government Agency That | Believe
Diseriminated Against Me or Others. (if more than two, list under PARTICULARS below.)

 

 

 

 

 

 

 

 

Name No. Employees, Mambers Phone No, (inelude Area Code)
LOYOLA UNIVERSITY MEDICAL CENT 500 or More (708) 216-1067
Streat Address Cily, Stata and ZIP Coda

2160 5. First Avenue, Maywood, IL 60153

Name No, Employees, Mambera Phone No. finctude Ares Coda)
Street Address City, State and ZIP Code

 

DATE(S) DISCRIMINATION TOOK PLAGE
Earliest Latest

RACE COLOR SEX RELIGION NATIONAL ORIGIN
J L LJ [J LJ 09-23-2002 01-19-2004

RETALIATION [| AGE (x ] DISABILITY (J OTHER (Specify below.)

DISCRIMINATION BASED ON (Check appropriate boxfes).)

[x] CONTINUING ACTION

 

 

THE PARTICULARS ARE {if additional paper is néeded, silach exira sheet{s));

I. | was hired by Respondent in September 1998 as Service Representative. On December 15, 2000!
injured myself while at work which resulted in my disability. Since September 23, 2002 and continuing,
Respondent refused to provide me with a reasonable accommodation, Respondent also refused to hire
me into available position which | can perform without any accommodation. In April 2003 Respondent
forced me to accept a service representative position with no reasonable accommodation. On January

19, 2004 | was discharged from my position.

ll. f believe that Respondent discriminated against me because of my disability, In violation of the.
Americans with Disabilities Act of 1990.

ae ee
RECEIVED EEOC
JUN 14 2005

| CHICAGO DISTRICT OFFICE

 

 

I want this charge filed with both tha EEOC and the State or local Agency, Ifany. | will | NOTARY = When necassary for Stata and Local Agency Requirements
advise the agencies if | change my address or phone number and | will cooperate fully
with them in the processing of my charge In accordance with their procedures.

 

| swear or affirm that | have read the above charge and that itis tue fo

| declare Under penalty of perjury that the above is true and correct. the best of my knowledga, information and belief.
SIGNATURE OF GOMPLAINANT

SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
fd bt i (month, day, yaar)

 

  
   

Jun 14, 2004

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Changing Farty Signatura

 

 

 

 

 

Ext bit A
   

 

QUAL EMPLOYMENT OPPORTUNITY COMMISSION

NOTICE OF RIGHT TO SUE

(Issued on request)

 

 

 

To: Linda Macchia From:
2502 South Park Avenue Chicago District Oifice ‘
North Riverside, IL 60546 Equal Employment Opportunity Commission
500 West Madison Street, Suite 2300
CERT. MAIL #,; 7099 3400 0006 730 3 2919 C/P Chicago, IL 60661-2511
| On behalf ofa person aggrieved whose identity is CONFIDENTIAL

(29 CLLR. 16G1.7{a})

Charge Number EEOC Representative Telephone Number

210-2004-05322 Reqina Husar, Enforcement Supervisor (312) 353-0819

 

 

 

( See the additional information attached to this form )

TO THE PERSON AGGRIEVED: This ts your NOTICE OF RIGHT TO SUE. It is issued at your request. If you intend to sue the respondent(s)
named in your charge, YOU MUST DO SO WITHIN NINETY (90) DAYS OF YOUR RECEIPT OF THIS NOTICE: OTHERWISE YOUR
RIGHT TO SUE 15 LOST.

More than 180 days have expired since the filing of this charge.

Less than 180 days have expired since the filing of this charge, but I have determined that the Commission will be unable to complete
its process within 180 days from the filing of the charge.

With the issuance of this NOTICE OF RIGHT TO SUE, the Commission is terminating its process with respect to this charge.

el AL

 

It has been determined that the Commission will continue to investigate your charge.

 

 

 

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ADEA: While Title V0 and the ADA require EEOC to issuc this notice of right to sue before you can bring a lawsuit, you may sue

under the Age Diserimination in Employment Act (ADEA) any time 60 days after your charge was filed until 90 days after you
received notice that EEOC has completed actlon on your charge.

[| Because EEOC is closing your case, your lawsuit under the ADEA must be brought within 90 days of your reccipt of this
notice. Otherwise, your right to sue is lost.

| EEOC is continuing its investigation. You will be notified when we have completed action and, if appropriate, our notice
will include notice of right to sue under the ADEA,

 

 

 

EPA: While Title VII and the ADA require EEOC to issuc this Notice of Right to Suc before you can bring a lawsuit, you already

have the right to sue under the Equal Pay Act (EPA) (You arc not required to complain to any enforcement agency before bringing
an EPA suit in court), EPA suits must be brought within 2 years (3 years for willful violations) of the alleged EPA underpayment.

 

On Behalf of the Commission

Yor 26, & Quy Whe L Kocuce a

(Date) John P, Rowe, District Director

Enclosures
Information Sheet
Copy of Charge

ec: Respondent(s} Loyola University Medical Center

 

 

 

BBOC Forts 161-B (Test 10/94)

Extra bt WS

 
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b ae UNITED STATES DISTRICT COURT Does
NORTHERN DISTRICT OF ILLINOIS

oe a Civil Cover Sheet

This atitomatcd JS-44 conforms penerally to the manual JS-44 approved by the Judicial Conference of the United States in
Seplember 1974, The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet, The
information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as required
by law. ‘This form is authorized for use only in the Northern District of Illinois.

 

Plaintiff(s): Linda Macchia Defendant(s):Loyola University Medical Center
County of Residence: (“OO ke County of Residence:
Plaintiffs Atty: John P. DeRose Defendant's Atty:

John P, DeRose and Associates
15 Spinning Wheel Road, Suite O 4C
428, Hinsdale, Illinois 60521

(630) 920-1111

 

II. Basis of Jurisdiction: 3. Federal Question (U.S. not a party)
UDGE COAR

IIT, Citizenship of Principal
Parties (Diversity Cases Only}
Plaintiff:- N/A

 

Defendant:- N/A 7
MAGISTRA ve JUDGE
IV. Origin : 1. Original Procceding EL AY ReOWIN
V. Nature of Suit: 440 Other Civil Rights
V1.Cause of Action: 42 U.S.C, 12101 - Americans with Disability Act

~ Class Action: No
Dollar Demand: In excess of $100,000.00
Jury Demand: Yes

VIII. This case IS NOT a refiling of a previously dismissed case.

 

 

Signature:

Date:

 

If any of this informuleff is incorrect, please go back tu the Civil Cover Sheet Input form using the Aaek button in your browscr and change il.
Once correct, print this form, sign and date it and submit it with your new civil action, Note: You may need to adjust the font size
in your browser display to make the form print properly. Revised: 06/28/00
/ “of

http://www.ilnd uscourts.gov/PUBLIC/Forms/auto js44.cfmn 7/26/04

 

 
